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                IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF HAWAll


. U.S. EQUAL El\1PLOYMENT               Case No.: CV-17-00371-SOM-WRP
  OPPORTUNITY COMMISSION,
                                        CONSENT TO SETTLEMENT;
             Plaintiff,                 PROPOSE:E> ORDER
                                        SP"
       v.                               The Honorable Susan Oki Mollway
                                        United States District Judge
 MJC, INC.; GAC AUTO GROUP, INC.
 dba CUTTER MAZDA OF
 HONOLULU and Does 1-10 Inclusive,

             Defendant(s).
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                                              I.
                                  INTRODUCTION

        A.     Plaintiff U.S. Equal Employment Opportunity Commission (the

 "EEOC;' or "Plaintiff') and Defendants MJC Inc. and GAC Auto Group, Inc. dba

 Cutter Mazda of Honolulu ("Defendants" or "Cutter Mazda") hereby stipulate and

 agree to entry of this Consent to Settlement (the "Settlement") to fully and finally

 resolve Plaintiffs complaint against Defendants in U.S. Equal Employment

 Opportunity Commission v. MJC, Inc. et aL, Civil No. 17-00371 SOM WRP (the

 "Acti on").

        B.     On July 31, 2017, Plaintiff first filed this Action in the United States

 District Court, District of Hawaii, alleging a violation of the Americans with

 Disabilities Act of 1990 ("ADA"), as amended by the ADA Amendment Act.of

 2008 ("ADAAA"), as amended, 42 U.S.C. § 12112 et. seq. The Action alleged

 that Defendants unlawfully discriminated against Charging Party, Mr. Ryan Vicari

 ("Charging Party"), by failing to hire him on the basis of his disability and/or

 perceived disability in violation the ADA/ADAAA.

        C.     On October 23, 2017, Defendants filed their Motion to: (1) Stay

  Plaintiffs Complaint for Failure to Satisfy 42 U.S.C. § 2000e-5(f)(l) and

  (2) Dismiss for Failure to State a Claim.


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       D.      On January 24, 2018, the Court entered its Order Denying

 Defendants' Motion to Stay Plaintiffs Complaint for Failure to Satisfy 42 U.S.C.

 § 2000e-5(±)(1), and Granting Defendants' Motion to Dismiss for Failure to State a

 Claim ("Order to Dismiss"). In denying Defendants' Motion to Stay, the Court

 held that the EEOC has satisfied its pre-suit conciliation obligations. The Court's

 Order to Dismiss allowed EEOC to file an Amended Complaint, no later than

 February 14, 2018, addressing only Charging Party's status as a qualified

 individual.

       E.      On February 14, 2018, EEOC filed its Amended Complaint.

       F.      On February 28, 2018, Cutter Mazda filed its Answer denying the

 EEOC's allegation raised in the Amended Complaint.

                                          II.

               PURPOSES AND SCOPE OF THE SETTLEMENT

       A.      This Settlement fully and completely resolves any and all allegations,

 issues, and claims, without limitation, that EEOC raised in this Action, as of and

 prior to the entry date of this Settlement by the Court ("Effective Date"). This

 Settlement shall remain in effect for two (2) years after the Effective Date and shall

 be binding on and enforceable against Defendants as well as their agents,

 successors and assigns. Collectively, EEOC and Defendants are referred to herein

 as the "Parties."


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       B.     The Parties have entered into this Settlement to confirm that

 Defendants have not and will not engage in or be a party to any action, policy or

 practice that is intended or is known to them to have the effect of discriminating

 against any employee or prospective employee on the basis of a disability and/or a

 perceived disability, provide appropriate monetary and injunctive relief, reinforce

 Defendants' ongoing employment practices to further comply with ADA/ADAAA

 and other federal law as requested by the EEOC, provide additional training in

 employment discrimination law, provide information on deafness and deaf culture

 as well as additional information regarding deafness and hearing impairments in

 the workplace, and to ensure appropriate record keeping, reporting and monitoring

 during the term of this Settlement. The Parties, in entering into this Settlement,

 acknowledge that Defendants deny liability, and that this Settlement is not an

 admission of wrongdoing by Defendants.

                                          III.

                              RELEASE OF CLAIMS

       A.     This Settlement fully and completely resolves all issues, claims and

 allegations raised by the EEOC against Defendants in this Action.

       B.     Nothing in this Settlement shall be construed to limit or reduce

 Defendants' obligations to continue complying fully with ADA/ADAAA or any

 other federal employment statute.


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        C.     Although EEOC has not identified any other charges, this Settlement

 in no way affects the EEOC's right to bring, process, investigate or litigate other

 charges that may be in existence or may later arise against Defendants in

 accordance with standard EEOC procedures.

                                          IV.

                                   JURISDICTION

        A.     This Court has jurisdiction over the Parties and the subject matter of

 this litigation.

        B.     This Court shall retamjurisdiction of this action during the term of

 this Settlement for the purposes of entering all orders, judgments and decrees that

 may be necessary to implement the relief provided herein.

                                           v.
                      MODIFICATION AND SEVERABILITY

        A.      This Settlement constitutes the complete understanding of the Parties

 with respect to the matters contained herein. No waiver, modification or

 amendment of any provision of this Settlement will be effective unless made in

 writing and signed by an authorized representative of each of the Parties.

        B.      If one or more provisions of the Settlement are rendered unlawful or

 unenforceable, the Parties shall make good faith efforts to agree upon appropriate

 amendments in order to effectuate the purposes of the Settlement. In any event,


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 the remaining provisions will remain in full force and effect unless the purposes of

 the Settlement cannot, despite the Parties' best efforts, be achieved.

       C.     By mutual agreement of the Parties, this Settlement may be amended

 or modified in the interests of justice and fairness in order to effectuate the

 provisions herein.

                                           VI.

                 COMPLIANCE AND DISPUTE RESOLUTION

       A.     In the unlikely event of a dispute, prior to initiating any compliance

 action with this Court, the EEOC will notify Defendants, in writing, of the nature

 of the dispute. EEOC's notice shall specify the particular provision(s) that the

 EEOC believes Defendants breached and the Parties shall meet and confer within

 five (5) business days of the EEOC's notice to discuss the specific action(s) EEOC

 recommends that Defendants must undertake in order to cure any alleged breach.

 Absent a showing by EEOC that the delay w'ill cause irreparable harm, Defendants

 shall have thirty-five (35) days from receipt ofEEOC's notice to attempt to resolve

 or cure any alleged breach.

       B.      After the identified thirty-five (35) days have passed with respect to'

 any alleged breach noticed in writing by EEOC to Defendants, if the Parties have

 reached no resolution or agreement to extend the time further, the EEOC may

 petition this Court for resolution of the dispute. In the event EEOC petitions this


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 Court for resolution as identified herein, it is specifically understood that this Court

 may award any relief to either of the Parties that this Court deems appropriate.

                                          VII.

                                MONETARY RELIEF

       A.     Defendants will pay a total of$42,000.00 ("Settlement Amount") to

 be distributed to the Charging Party and/or a non-profit organization relating to the

 deaf community.

       B.     The EEOC will provide Defendants with the allocation amount, which

 will be at the EEOC's discretion, and any relevant identifying information

 (hereafter "Distribution List"). Within thirty (30) days of the EEOC providing the

 Distribution List, Cutter Mazda shall send a check to the entities identified in the

 Distribution List via mail.

        C.     The EEOC has designated that this payment as non-wage

 compensation; thus, pursuant to the direction of the EEOC, no tax withholding will

 be made. Defendants shall prepare and distribute 1099 tax reporting form(s), as

 required by law, and shall make any appropriate report(s) to the Internal Revenue

 Service ("IRS") and other tax authorities. In the ordinary course of business,

 Defendants shall prepare and distribute a 1099 tax reporting form to the entities

 and/or individuals on the Distribution List. The Parties acknowledge that

 Defendants make no representation, and Defendants are not liable for how taxation


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 upon this payment of the Settlement Amount is treated by the IRS or any other tax

 authorities; taxes owed on this payment of the Settlement Amount (if any) shall be

 the sole responsibility of the entities and/or individuals designated within the

 Distribution List.

         D.     Within three (3) business days of the issuance of the settlement

 check(s) and the issuance of tax reporting forms, Cutter Mazda shall send via

 regular U.S. mail a copy of the check, tax reporting forms, and related

 correspondence to Anna Y. Park, Regional Attorney, U.S. Equal Employment

 Opportunity Commission, Los Angeles District Office, 255 East Temple Street,

 4th   Floor, Los Angeles, CA, 90012.

                                              VITI.

                          GENERAL INJUNCTIVE RELIEF

          In furtherance of the Parties' acknowledgement that Defendants have not

 and will not engage in or be a party to any action, policy or practice that is

 intended or is known to them to have the effect of discriminating against any

 employee or prospective employee on the basis of a disability and/or a perceived

 disability, the following provisions are affirmed by the Parties:

          A.    Discrimination based on disability and/or perceived disability:

          In accordance. with their past actions, policy and practice, Defendants,

  including all managerial employees, agents and assigns and all those in active


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 concert or participation with them, or any of them, will continue with their actions

 in not engaging in or being a party to any action, policy or practice that is intended

 or is known to them to have the effect of discriminating any employee/job

 applicant on the basis of their disability and/or perceived disability.

       B.     Retaliation:

       In accordance with their past actions, policy and practice, Defendants,

 including all managerial employees, agents and assigns and all those in active

 concert or participation with them, or any of them, will not implement or permit

 any action, policy or practice with the purpose of retaliating against any current or

 former employee of Defendants, because he or she has in the past, or during the

 term of this Settlement:

        1.    Opposed any practice made unlawful under ADA/ADAAA;

       2.     Filed a charge of discrimination alleging such practice;

       3.     Participated in any manner in an internal or external investigation or

              proceeding relating to this case or any claim of a violation of

              ADAIADAAA;

        4.    Was identified as a possible witness or claimant in this Action;

        5.    Asserted any right under this Settlement; or

        6.    Sought and/or received any relief in accordance with this Settlement.




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                                         IX.

               TRAINING, RECORD KEEPING & REPORTING

       A.     Training

       Within ninety (90) days of the Effective Date of this Settlement, and

 annually thereafter during the term of this Settlement as identified below,

 Defendants· shall provide the trainings described below:

       1.     Annual Training: Defendants shall incorporate into their existing EEO

              training ("Annual Training"), that Defendants have provided annually

              to each of their employees, a live and interactive Annual Training to

              be expanded to include more information as it relates to ADA

              compliance in hiring and recruitment and accommodation

              requirements.

       2.     Defendants' EEO Consultant: The Annual Training shall be provided ·

              by the external employment law attorney - or her designee - who has

              worked with Defendants for the past decade ("Defendants' EEO

              Consultant"), to all employees (both management and non-

              management) who have been employed for longer than six (6)

              months, unless otherwise deemed by Defendants' EEO Consultant.

              Defendants' EEO Consultant will determine the length, frequency of

             the training, and make any modifications to the training materials


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             she/he sees fit. Defendants will also include a copy of Defendants'

             existing EEO Policy as it relates to the ADA as part of the training

             materials provided to employees for the Annual Training and notice of

            this Settlement. In accordance with Defendants' current practice, all

             employees required to atte.nd the Annual Training shall verify their ·

             attendance and job position, as well as receipt of the training materials

             and EEO Policy, in writing to the EEOC. Ifno substantive updates

             have been made to the training materials or trainer of the Annual

             Training, Defendants shall submit an email or other written

             correspondence confirming that there are no new training materials or

            trainer. Any substantive updates to the training materials or trainer

             shall be reported to the EEOC within thirty (30) days prior to the

             Annual Training.

    3.    Compliance Training: In addition to the Annual Training, during the

          initial twelve (12) month period after this Settlement, the Human

          Resources employees and anyone in a position to make recruitment

          and/or hiring decisions or recommendations shall be trained on the

          obligations under the ADA, as amended, on how to properly assess and

          engage in the interactive process, how to properly consider an individual

          with a disability for employment, and training on when considering an


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          individual with a disability for employment, to properly consider an

          accommodation during an interview or hiring process ("Compliance

          Training"). In accordance with Defendants' current practice, this

          Compliance Training shall be conducted by Defendants' EEO

          Consultant. Defendants' EEO Consultant will determine the frequency

          and duration of the Compliance Training.

    4.    Deaf Culture Training: In addition to the Annual Training, during the

          initial year of this Settlement, Defendants shall provide management and

          Human Resources employees with a live and interactive training on deaf

          culture and professional interactions with deaf employees ("Deaf Culture

          Training"). Deaf Culture Training shall encompass the following topics:

           1. raising awareness about the deaf community in Hawaii;

          2. identifying how deaf individuals communicate; 3. identifying the

          technology available that could enhance communication with applicants

           and/or employees; 4. identifying issues that face deaf applicants and/or

           employees in the workplace and how employers can address them; and

           5. dispelling stereotypes such as safety concerns when working with or

           considering for hire, deaf individuals. Such training will be provided by

          the State of Hawaii's Disability and Communication Access Board

           ("DCAB"). All employees required to attend the Deaf Culture Training


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          shall verify their attendance and job position in writing. Training

          materials shall be sent to the EEOC by DCAB twenty (20) days prior to

          the training session(s). The EEOC may provide feedbackprior to the

          training is undertaken. If requested by the DCAB, it is understood that

          Defendants have agreed to pay for two sign language interpreters in ·

          order to support the trainer provided by DCAB. Defendants' EEO

          Consultant will determine whether this Deaf Culture Training, or any

          part thereof, should be given to non-management employees and/or

          incorporated into the Annual Training identified in Section IX (A.)(1.)

          herein.

    5.    Additional Information Regarding Deafuess and Hearing Impairments in

          the Workplace: Defendants shall provide management and Human

          Resources employees with a copy of the EEOC's Questions and

          Answers about Deafuess and Hearing Impairments in the Workplace and

          the Americans with Disabilities Act as found at

          https://www.eeoc.gov/eeoc/publications/qa_ deafuess.cfm ("Q&As").

          Defendants' management and Human Resources employees shall sign a

          verification of having read these EEOC questions and answers and their

          job positions.




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       B.     Record Keeping and Reporting

       1.     For the duration of this Settlement, Defendants agree to maintain all

 records as are necessary to demonstrate their compliance with this Settlement,

 including all records in connection with any job applications where job applicants

 have disclosed as having a hearing impairment, outcome of such job applications

 and the identities of the parties involved in reviewing such job applications.

 Defendants will make the aforementioned records available to the EEOC for

 inspection and copying within twenty (20) business days following a written

 request by the EEOC to Defendants.

       2.     For the duration of this Settlement, Defendants will provide an annual

 report to EEOC of Defendants' obligations under this Settlement which will

 include the following:

              a. verification of the occurrence of the Annual Training, the

 trainer(s), the employees attended, the training materials, and the receipt of training

 materials and EEO Policy, in the twelve (12) months prior;

              b. verification of the occurrence of the Compliance Training and the

 employees attended, occurring during the initial twelve (12) months after the

 Effective Date and thereafter as determined by Defendants' EEO Consultant;




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                 c. verification of the occurrence of the Deaf Culture Training and the

 employees attended, occurring during the initial twelve (12) months after the

 Effective Date and thereafter as determined by Defendants' EEO Consultant;

                 d. verification of employees' receipt and reading of the EEOC

 Questions and Answers, occurring during the initial twelve (12) months after the

  Effective Date and thereafter as determined by Defendants' EEO Consultant;

                 e. Report on the number of job applicants that disclosed as having a

  disability and the outcome of the job application, in the twelve (12) months prior.

  If the job application was unsuccessful, reason(s) for the unsuccessful job

  application.

                 f. verification of the posting as outlined in Section IX. C.; and

                 g. a report of the notification of Defendants' invitation to apply sent

  to the State of Hawaii's Division of Vocational Rehabilitation related to entry level

  positions as outlined in Section IX. D. The report shall include the copies of the job

  postings or job descriptions, along with the communication sent to the State of

  Hawaii's Division of Vocational Rehabilitation.

        To the extent the EEOC has a need to review the underlying documents from

  the reporting, then the EEOC will give thirty (30} days notice to Defendants of the

  documents the EEOC seeks for production and review.




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        C.    Posting

        In accordance with the statement that Defendants currently include on each

 written Application for Employment, within ten ( 10) days of the Effective Date

 and throughout the term of the Settlement, Defendants shall post a statement on its

 website(s) (including \vww.cutterauto.com), informing job applicants of its·

 commitment to equal employment opportunity and to hire without regard to

 disability and encourage disabled individuals, to apply.

        D.     Hiring and Recruiting of Deaf and/or Hard of Hearing Individuals

        Within thirty (30) days of the Effective Date, the Defendants will notify the

  State of Hawaii's Division of Vocational Rehabilitation of Defendants' ongoing

  intent to recruit and open job opportunities to individuals who are deaf and/or hard

  ofhearing. Defendants will informthe Hawaii Division of Vocational

  Rehabilitation that Defendants will accept, on a rolling basis, applications for all

  entry level positions including auto detailer, car washers, and other entry level

  positions. With this notice, Defendants will provide job descriptions or job

  postings (related to currently open positions) related to all entry level jobs.

  Thereafter, Defendants shall continue to endeavor to provide job opportunities to

  deaf and/or hearing impaired individuals. To the extent job offers are made, the

  EEOC will be informed of such efforts during the term of the Settlement.




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                                          x.
       HR DIRECTOR'S IMPLEMENTATION AND REPORTING OF
                         SETTLEMENT

       A.     Defendants' Human Resource Director ("HR Director") will monitor

 Defendants' compliance with ADA/ADAAA and the provisions of this Settlement.

 In regard to the Settlement, Defendants' EEO Consultant will be available to assist

 Defendants' HR Director in his/her responsibilities which shall include:

       1.     Ensure and report that all Defendants' employees are provided the

 Annual Training (together with training materials and EEO Policy), and that

 management and Human Resources employees are provided with the Compliance

 Training and Deaf Culture Training and Q&As as identified in Section IX. To the

 extent necessary, Defendants will work with the EEO Consultant to review and

 revise, if necessary, their ADA polices and procedures to be consistent with the

 trainings in the Settlement;

       2.     Ensuring that Cutter Mazda's record keeping and reports required by

 this Settlement are accurately compiled and timely submitted to EEOC as

 identified in Section IX; and

       3.     Ensuring the provisions related to recruitment and job postings are

 carried out to recruit deaf or hearing impaired individuals. Recruitment efforts, job

 postings, and actual hires shall also be reported to the EEOC annually from the

 Effective Date. Copies of job postings and notification to the Hawaii Division of
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 Vocational Rehabilitation along with the date they were sent will be reported to the

 EEOC with Defendants' initial report after the Effective Date. Defendants shall

 provide a report with the numbers of all openings in entry level jobs by positions

 and hiring of individuals into these positions as set forth IX(D.).

                                          XI.

                        COSTS AND ATTORNEYS' FEES

       Each party shall bear its own costs of suit and attorneys' fees.

                                          XII.

                        MISCELLANEOUS PROVISIONS

       A.     During the term of this Settlement, Defendants shall assure that each

 of their owners, officers, managers, supervisors, and human resources personnel

 are aware of any term(s) of this Settlement which may be related to his/her job

 duties.

       B.     Defendants shall provide any potential successor-in-interest with a

 copy of this Settlement within a reasonable time at least 30 days prior to the

 execution of any agreement for acquisition or assumption of control, or any other

 material change in corporate structure. Defendants shall simultaneously inform the

 EEOC ofany such agreement for acquisition, assumption of control, or other

 material change in corporate structure and inform of the EEOC when it has




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 transferred operational control to any successor in interest during the term of the

 Settlement.

        C.     Unless otherwise stated, all notices, reports and correspondence

 required under this Settlement shall be delivered via regular U.S. mail to the

  attention of Anna Y. Park, Regional Attorney, U.S. Equal Employment

  Opportunity Commission, 255 East Temple Street, 4th Floor, Los Angeles, CA,

  90012; facsimile number (213) 894-1301.

        D.     The Parties agree that entry of this Settlement is subject to final

  approval by the Court.

        All parties, through the undersigned, respectfully apply for and consent to

  this entry of this Settlement.

                                                 Respectfully submitted,

                                                 U.S. EQUAL EMPLOYMENT
                                                 OPPORTUNITY COMMISSION

  Date: December 19, 2019                       Isl Anna Y. Park
                                            By: Anna Y. Park
                                                Attorneys for Plaintiff EEOC

                                                 COX FRICKE LLP

  Date: December 19, 2019                       Isl Joachim P. Cox
                                             By: Joachim P. Cox
                                                Attorneys for Defendants MJC, Inc.
                                                 and GAC Auto Group, Inc.

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                            ~
                             [PROPOSED] ORDER

       The provisions of the foregoing Settlement are hereby approved and

 compliance with all provisions thereof is HEREBY ORDERED.




                                      The Honorable Susan Oki Mollway
                                      United States District Judge




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